  Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 1 of 30




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


                                 )
STATE OF FLORIDA,                )
                                 )
    Plaintiff,                   )
                                 )
    v.                           )    Civil Action No. 3:21-cv-01066
                                 )
The UNITED STATES OF             )
AMERICA, et al.,                 )
                                 )
    Defendants.                  )
                                 )




 DEFENDANTS’ FIRST SET OF INTERROGATORIES TO PLAINTIFF
    Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 2 of 30




      Pursuant to Federal Rule of Civil Procedure 33, Defendants United States of

America, et al., hereby serve the following Interrogatories upon Plaintiff State of

Florida. Plaintiff shall respond fully, in writing and under oath, in accordance with

the Federal Rules of Civil Procedure.

      Responses are to be served electronically to Defendants within thirty (30) days

of receiving these Interrogatories.

                                 DEFINITIONS

   1. “Applicant for admission” means a noncitizen “present in the United States

      who has not been admitted or who arrives in the United States (whether or not

      at a designated port of arrival and including an alien who is brought to the

      United States after having been interdicted in international or United States

      waters).” 8 U.S.C. § 1225(a)(1).

   2. “Criminal offense” means all offenses prohibited by the criminal code of the

      State of Florida and United States of America, both misdemeanors and

      felonies, without reference to the length or type of punishment prescribed.

   3. “First Amended Complaint” means Plaintiff’s currently operative complaint

      in this case, ECF No. 16, filed February 1, 2022.

   4. “Southwest border” means the international border between the United States

      and Mexico.




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    Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 3 of 30




   5. “You” means Plaintiff State of Florida, including all its agencies,

        subdivisions, and officers acting in official capacity.

                                INTERROGATORIES

INTERROGATORY NO. 1: Describe in detail each and every specific harm

and/or expense that you have incurred as a result of Defendants’ release of applicants

for admission encountered at the Southwest border, excluding litigation expenses,

broken down by month from January 2020 through January 2022.

INTERROGATORY NO. 2: Describe in detail, and provide the overall number of,

instances of noncitizens’ commission of criminal offenses within the State of Florida

while released from federal immigration custody pending their pursuit of asylum or

removal proceedings, broken down by month from January 2020 through January

2022.

INTERROGATORY NO. 3: Describe in detail each and every social service that

you provide to applicants for admission released by the federal government pending

their pursuit of asylum or removal proceedings, as alluded to in ¶¶ 69-72 of your

First Amended Complaint, including the total amount that you spent on that service

for such applicants for admission, and/or that you, for future periods, budgeted to

spend on that service, broken down by month, beginning in September 2021 and

ending August 31, 2022.

INTERROGATORY NO. 4: Identify and describe if and how the provision of

                                            3
    Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 4 of 30




social services by agencies within the State of Florida has changed or is expected to

change, in terms of operation and cost, in response to the Florida governor’s

Executive Order 21-223 (Sept. 28, 2021), in the period from January 2021 through

January 2023.

INTERROGATORY NO. 5: Identify how many applicants for admission released

by the federal government pending their pursuit of asylum or their removal

proceedings were incarcerated or otherwise detained for criminal offenses by law

enforcement agencies in the State of Florida, as alluded to in ¶ 73 of your First

Amended Complaint, from January 21, 2022 through April 30, 2022.

INTERROGATORY NO. 6: State how many applicants for admission released by

the federal government pending their pursuit of asylum or their removal proceedings

were enrolled in public schools in the State of Florida, as alluded to in ¶ 74 of the

First Amended Complaint, from January 21, 2022 through April 30, 2022.

INTERROGATORY NO. 7: Identify the quantity and type of services provided by

Florida’s Department of Children and Families, as alluded to in ¶ 75 of the First

Amended Complaint, from January 21, 2022 through April 30, 2022 to applicants

for admission released by the federal government pending their pursuit of asylum or

their removal proceedings.

INTERROGATORY NO. 8: Identify the quantity and type of emergency medical

services provided by the State of Florida, as alluded to in ¶ 76 of the First Amended


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    Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 5 of 30




Complaint, from January 21, 2022 through April 30, 2022 to applicants for

admission released by the federal government pending their pursuit of asylum or

their removal proceedings.

INTERROGATORY NO. 9: Identify and describe the type and amount of each

source of funding you received from the federal government based on the presence

of non-citizens in your State and/or for the purposes of supporting the services

provided to such non-citizens, as alluded to in ¶ 73 of the First Amended Complaint,

broken down by month from January 2021 through January 2022.

INTERROGATORY NO. 10: Identify each and every benefit you receive from the

presence of non-citizens in your state, including without limitation the amount of

any tax revenues, any tuition revenues to state and/or local educational institutions,

any contribution to the State’s economy by businesses owned, operated, or staffed

by noncitizens, any increase in federal funding to assist states with providing

services for immigrants, and any other monetary and/or nonmonetary benefit, from

January 21, 2022 through April 2022.

INTERROGATORY NO. 11: Identify and describe all evidence you have that

Defendants’ immigration policies are the cause of an alleged surge at the Southwest

border, as claimed in ¶ 18 of the First Amended Complaint.

INTERROGATORY NO. 12: Identify and describe all evidence you have that

Defendants are not conducting parole decisions pursuant to 8 U.S.C.


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§ 1182(d)(5)(A) on a case by case basis for urgent humanitarian reasons or

significant public benefit.

INTERROGATORY NO. 13: Identify and describe all evidence you have to

support your allegations in ¶ 21 of the First Amended Complaint that applicants for

admission released by Defendants pending their pursuit of asylum or removal

proceedings will relocate to Florida, taking into account that the study you cite at

footnote 10 only includes data through 2016 and shows a trend of decreasing

unauthorized noncitizen population in Florida.

INTERROGATORY NO. 14: Identify and describe in detail all “reliance interests”

by the State of Florida in federal immigration policy alleged in ¶¶ 92 and 96 of the

First Amended Complaint, explaining the specific basis for the reliance interest and

whether and what legislative or budgetary changes have been made by Florida in

reliance on those interests.

INTERROGATORY NO. 15: Identify and describe all “lesser alternatives” that

Defendants failed to consider, as alleged in ¶¶ 92 and 96 of the First Amended

Complaint, explaining how the “lesser alternative” would have served the same

immigration objectives as parole and Parole+ATD, and your basis for asserting that

such “lesser alternatives” were not considered.




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Date: April 27, 2022               Respectfully submitted,

JASON R. COODY                     BRIAN M. BOYNTON
United States Attorney             Principal Deputy Assistant Attorney General

MARIE A. MOYLE                     WILLIAM C. PEACHEY
Assistant United States Attorney   Director
Northern District of Florida       Office of Immigration Litigation
                                   District Court Section

                                   EREZ REUVENI
                                   Assistant Director

                                   /s/ Joseph A. Darrow
                                   JOSEPH A. DARROW
                                   ERIN T. RYAN
                                   Trial Attorney
                                   U.S. Department of Justice
                                   Civil Division
                                   Office of Immigration Litigation
                                   District Court Section
                                   P.O. Box 868, Ben Franklin Station
                                   Washington, DC 20044
                                   Tel.: (202) 805-7537
                                   Joseph.a.darrow@usdoj.gov

                                   SARAH STEVENS WILSON
                                   Assistant Director
                                   Office of Immigration Litigation
                                   Appellate Section




                                     7
    Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 8 of 30




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 27, 2022, I served Defendants’ First Set of

Interrogatories to Plaintiff via email on the following counsel for Plaintiff in Florida

v. United States, et al., No. 3:21-cv-01066.

      Karen Ann Brodeen
      Karen.brodeen@myfloridalegal.com

      Natalie Christmas
      Natalie.christmas@myfloridalegal.com

      James Hamilton Percival II
      James.percival@myfloridalegal.com


                           By: /s/ Joseph A. Darrow
                           JOSEPH A. DARROW
                           Trial Attorney
                           United States Department of Justice
                           Civil Division




                                           8
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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


                                 )
STATE OF FLORIDA,                )
                                 )
    Plaintiff,                   )
                                 )
    v.                           )    Civil Action No. 3:21-cv-01066
                                 )
The UNITED STATES OF             )
AMERICA, et al.,                 )
                                 )
    Defendants.                  )
                                 )




 DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION TO
                       PLAINTIFF
   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 10 of 30




      Pursuant to Federal Rule of Civil Procedure 34, Defendants United States of

America, et al., hereby serve the following Requests for Production upon Plaintiff

State of Florida.   Plaintiff shall respond fully, in writing and under oath, in

accordance with the Federal Rules of Civil Procedure.

      Responses are to be served electronically to Defendants within thirty (30) days

of receiving these requests for production.

                                 DEFINITIONS

   1. “Applicant for admission” means a noncitizen “present in the United States

      who has not been admitted or who arrives in the United States (whether or not

      at a designated port of arrival and including an alien who is brought to the

      United States after having been interdicted in international or United States

      waters).” 8 U.S.C. § 1225(a)(1).

   2. “Document” means any record of information, including writings, data,

      correspondence, photographs, video and audio recordings, and images. It

      specifically includes all communications and electronically stored

      information, including text messages and emails.

   3. “Southwest border” means the international border between the United States

      and Mexico.

   4. “You” means Plaintiff State of Florida, including all its agencies,

      subdivisions, and officers acting in official capacity.

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   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 11 of 30




                       REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 1.

REQUEST FOR PRODUCTION NO. 2: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 2.

REQUEST FOR PRODUCTION NO. 3: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 3.

REQUEST FOR PRODUCTION NO. 4: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 4.

REQUEST FOR PRODUCTION NO. 5: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering          Defendants’


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Interrogatory No. 5.

REQUEST FOR PRODUCTION NO. 6: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 6.

REQUEST FOR PRODUCTION NO. 7: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 7.

REQUEST FOR PRODUCTION NO. 8: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 8.

REQUEST FOR PRODUCTION NO. 9: Provide all documents, including but not

limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 9.

REQUEST FOR PRODUCTION NO. 10: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’


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Interrogatory No. 10.

REQUEST FOR PRODUCTION NO. 11: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 11.

REQUEST FOR PRODUCTION NO. 12: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 12.

REQUEST FOR PRODUCTION NO. 13: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 13.

REQUEST FOR PRODUCTION NO. 14: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’

Interrogatory No. 14.

REQUEST FOR PRODUCTION NO. 15: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you reviewed and/or considered in answering Defendants’


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Interrogatory No. 15.

REQUEST FOR PRODUCTION NO. 16: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you contend support your allegation that Defendants have a “non-

detention policy” for applicants for admission encountered at the Southwest border,

as referenced in ¶ 19 of your First Amended Complaint.

REQUEST FOR PRODUCTION NO. 17: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that you contend support your allegation that Defendants are

“affirmatively assisting” applicants for admission encountered at the Southwest

border “in resettling around the country,” as referenced in ¶ 22 of your First

Amended Complaint.

REQUEST FOR PRODUCTION NO. 18: Provide all documents, including but

not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, that describe or relate to any funding or financial assistance you receive

from the federal government for purposes of assisting in or supporting immigration

enforcement or housing, including, but not limited to, housing unaccompanied minor

non-citizens, resettling refugees, or performing immigration enforcement pursuant

to 8 U.S.C. § 1357(g).

REQUEST FOR PRODUCTION NO. 19: Provide all documents, including but


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not limited to, writings, data, correspondence, photographs, and/or video and audio

recordings, collected pursuant to Section 3 of the Florida governor’s Executive

Order 21-223 (Sept. 28, 2021).

Date: April 27, 2022                  Respectfully submitted,

JASON R. COODY                        BRIAN M. BOYNTON
United States Attorney                Principal Deputy Assistant Attorney General

MARIE A. MOYLE                        WILLIAM C. PEACHEY
Assistant United States Attorney      Director
Northern District of Florida          Office of Immigration Litigation
                                      District Court Section

                                      EREZ REUVENI
                                      Assistant Director

                                      /s/ Joseph A. Darrow
                                      JOSEPH A. DARROW
                                      ERIN T. RYAN
                                      Trial Attorney
                                      U.S. Department of Justice
                                      Civil Division
                                      Office of Immigration Litigation
                                      District Court Section
                                      P.O. Box 868, Ben Franklin Station
                                      Washington, DC 20044
                                      Tel.: (202) 805-7537
                                      Joseph.a.darrow@usdoj.gov

                                      SARAH STEVENS WILSON
                                      Assistant Director
                                      Office of Immigration Litigation
                                      Appellate Section




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 27, 2022, I served Defendants’ First Set of

Requests for Production via email on the following counsel for Plaintiff in Florida

v. United States, et al., No. 3:21-cv-01066.

      Karen Ann Brodeen
      Karen.brodeen@myfloridalegal.com

      Natalie Christmas
      Natalie.christmas@myfloridalegal.com

      James Hamilton Percival II
      James.percival@myfloridalegal.com


                          By: /s/ Joseph A. Darrow
                          JOSEPH A. DARROW
                          Trial Attorney
                          United States Department of Justice
                          Civil Division




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

STATE OF FLORIDA,

       Plaintiff,

v.                                                          Case No.: 3:21-CV-1066

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary
of the United States Department of
Homeland Security, in his official
capacity; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Acting
Commissioner of U.S. Customs and
Border Protection, in his official capacity;
U.S. CUSTOMS AND BORDER
PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official
capacity; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; UR M.
JADDOU, Director of U.S. Citizenship
and Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES,
     Defendants.
____________________________________________/
         PLAINTIFF’S AMENDED RESPONSE TO DEFENDANTS’
                       INTERROGATORY # 1

       Pursuant to Fed. R. Civ. P. 26(e), Plaintiff State of Florida hereby

supplements its response to Defendants’ Interrogatory # 1 which was previously

served on June 10, 2022 to provide supplemental information received by the
                                           1
   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 19 of 30




Florida Department of Corrections (FDC).

                         PRELIMINARY STATEMENT

   1.     Plaintiff provides this supplemental response to the best of its knowledge

and based upon all information presently available to and known by Plaintiff at this

stage of the litigation. Plaintiff reserves the right to supplement, amend, or otherwise

revise this response in accordance with the Federal Rules of Civil Procedure, the

Local Rules of this Court, and/or any applicable court order, as may be deemed

appropriate upon further review of information or documents.

   2.     Plaintiff further reserves the right to object, on any ground, to the

competency, materiality, privilege, or admissibility of any part of the information

ultimately provided in response to the Interrogatories.

   3.     Plaintiff reserves the right to introduce as evidence at trial any

subsequently discovered or unintentionally omitted information and/or documents.

                 SPECIFIC OBJECTIONS AND RESPONSES

INTERROGATORY NO. 1: Describe in detail each and every specific harm
and/or expense that you have incurred as a result of Defendants’ release of applicants
for admission encountered at the Southwest border, excluding litigation expenses,
broken down by month from January 2020 through January 2022.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:

       Plaintiff supplements its response to Interrogatory # 1 subsection A regarding
the Florida Department of Corrections to include a recent award of SCAAP funding
for the 7/1/18 to 6/30/19 reporting period. All references to Plaintiffs’ Response to
Interrogatory # 1 as it relates to FDC includes the supplemental information provided
below.
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   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 20 of 30




Reporting Period 7/1/15 -          7/1/16 -       7/1/17 -     7/1/18 -
                 6/30/16           6/30/17        6/30/18      6/30/19
Eligible Inmates      7,320        7,103          6,923        6,848
Reported
Number of             2,231,181    2,171,574      2,118,554    2,115,979
Inmate Days
Reported
Costs of              $53.52       $55.80         $59.57       $62.16
Incarceration per
day
Estimated Costs       $119,412,807 $121,173,829 $126,202,262 $131,529,255
to Incarcerate
Reported
Eligible Inmates
Amount                $6,823,144   $6,786,271     $7,380,287   $8,236,498
Reimbursed

Dated: July 1, 2022                  Respectfully submitted,

                                     ASHLEY MOODY
                                     ATTORNEY GENERAL

                                     John Guard (FBN 374600)
                                     CHIEF DEPUTY ATTORNEY GENERAL
                                     James H. Percival (FBN 1016188)
                                     DEPUTY ATTORNEY GENERAL OF LEGAL
                                     POLICY
                                     Henry C. Whitaker (FBN 1031175)
                                     SOLICITOR GENERAL
                                     Daniel Bell (FBN 1008587)
                                     CHIEF DEPUTY SOLICITOR GENERAL
                                     Natalie P. Christmas (FBN 1019180)
                                     ASSISTANT ATTORNEY GENERAL OF LEGAL
                                     POLICY
                                     Karen Brodeen (FBN 512771)
                                     SPECIAL COUNSEL
                                       3
   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 21 of 30




                                       Anita J. Patel (FBN 1029143)
                                       SENIOR ASSISTANT ATTORNEY GENERAL

                                       /s/ James H. Percival
                                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399-1050
                                       Telephone: (850) 414-3665
                                       Facsimile: (850) 413-7555
                                       James.Percival@myfloridalegal.com

                                       Counsel for the State of Florida



                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically mailed to all counsel of record on this 1st day of July, 2022.



                                       /s/ James H. Percival
                                       James H. Percival
                                       Deputy Attorney General of Legal Policy




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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

STATE OF FLORIDA,

          Plaintiff,

v.                                                      Case No.: 3:21-CV-1066

The UNITED STATES OF AMERICA,
et al.,
     Defendants.
____________________________________________/
     PLAINTIFF’S SECOND AMENDED SUPPLEMENTAL RESPONSE TO
                  DEFENDANTS’ INTERROGATORY # 1

          Pursuant to Fed. R. Civ. P. 26(e), Plaintiff State of Florida hereby

supplements its response to Defendants’ Interrogatory # 1 which was previously

served on June 10, 2022 to provide supplemental information received by the

Department of Children and Families (DCF).

                            PRELIMINARY STATEMENT

     1.      Plaintiff provides this supplemental response to the best of its knowledge

and based upon all information presently available to and known by Plaintiff at this

stage of the litigation. Plaintiff reserves the right to supplement, amend, or otherwise

revise this response in accordance with the Federal Rules of Civil Procedure, the

Local Rules of this Court, and/or any applicable court order, as may be deemed

appropriate upon further review of information or documents.
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   2.    Plaintiff further reserves the right to object, on any ground, to the

competency, materiality, privilege, or admissibility of any part of the information

ultimately provided in response to the Interrogatories.

   3.    Plaintiff reserves the right to introduce as evidence at trial any

subsequently discovered or unintentionally omitted information and/or documents.

                 SPECIFIC OBJECTIONS AND RESPONSES

INTERROGATORY NO. 1: Describe in detail each and every specific harm
and/or expense that you have incurred as a result of Defendants’ release of applicants
for admission encountered at the Southwest border, excluding litigation expenses,
broken down by month from January 2020 through January 2022.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:

      Plaintiff supplements its response to Interrogatory # 1 subsection C, subpart b
which addresses substance and mental health (SAMH) services provided by DCF.
The costs of providing such services is supplemented in documents bate stamped
1RFP1_ 114 and 1RFP1_115. All other interrogatories referencing Plaintiff’s
Response to Interrogatory # 1 as it relates to the cost of providing DCF SAMH
services includes this supplemental information.


Dated: September 9, 2022               Respectfully submitted,

                                       ASHLEY MOODY
                                       ATTORNEY GENERAL

                                       John Guard (FBN 374600)
                                       CHIEF DEPUTY ATTORNEY GENERAL
                                       James H. Percival (FBN 1016188)
                                       DEPUTY ATTORNEY GENERAL OF LEGAL
                                       POLICY
                                       Henry C. Whitaker (FBN 1031175)
                                       SOLICITOR GENERAL
   Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 25 of 30




                                       Daniel Bell (FBN 1008587)
                                       CHIEF DEPUTY SOLICITOR GENERAL
                                       Natalie P. Christmas (FBN 1019180)
                                       ASSISTANT ATTORNEY GENERAL OF LEGAL
                                       POLICY
                                       Karen Brodeen (FBN 512771)
                                       SPECIAL COUNSEL
                                       Anita J. Patel (FBN 1029143)
                                       SENIOR ASSISTANT ATTORNEY GENERAL

                                       /s/ Anita Patel
                                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399-1050
                                       Telephone: (850) 414-3665
                                       Facsimile: (850) 413-7555
                                       James.Percival@myfloridalegal.com

                                       Counsel for the State of Florida



                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically mailed to all counsel of record on this 9th day of September, 2022.

                                       /s/ Anita Patel
                                       Anita J. Patel
                                       Senior Assistant Attorney General
Case 3:21-cv-01066-TKW-ZCB Document 87-2 Filed 10/03/22 Page 26 of 30
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